                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   3:04 CV 234-MU

BURTON A. GELLMAN and THE           )
GELLMAN CORPORATION                 )
                                    )
      Plaintiffs,                   )
                                    )
vs.                                 )                           ORDER
                                    )
THE CINCINNATI INSURANCE            )
COMPANY                             )
                                    )
      Defendant.                    )
____________________________________)

        This matter is before the Court on Plaintiffs’ Motion to Compel. (Document #34).

Specifically, Plaintiffs seek an Order compelling Defendant to answer two interrogatories and to

respond to four requests for production of documents. For the reasons set forth below, Plaintiff’s

Motion to Compel is DENIED.

        “Parties may obtain discovery regarding any matter, not privileged, that is relevant to the

claim or defense of any party.” F.R.C.P. 26(b)(1). The frequency or extent of use of the

discovery methods . . . shall be limited by the court if it determines that: (i) the

discovery sought is unreasonably cumulative or duplicative, or is obtainable from some other

source that is more convenient, less burdensome, or less expensive; (ii) the party seeking

discovery has had ample opportunity by discovery in the action to obtain the information sought;

or (iii) the burden or expense of the proposed discovery outweighs its likely benefit . . ..F.R.C.P.

26(b)(2).

        Here, Plaintiff Gellman has a total of six requests that are disputed by Defendant


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Cincinnati. Each requests is too broad and overly burdensome to be in compliance with the

standard.

        Requests for Production 9, 10, and 11 demand Cincinnati turn over all manuals and

training materials related to (i) evaluation, appraisal or adjustment of claims for fires; (ii)

interpretation and application of the Replacement Cost provisions; and (iii) interpretation and

application of the Rental Value provisions of Cincinnati’s insurance policies and endorsements.

These requests are overly broad. In addition, Cincinnati has already provided Gellman with their

manual, making these additional requests unnecessary.

        In Interrogatories #3, #4, and Request for Production 13, Gellman is requesting the name,

phone number, address, location or property and details about the loss for ever claim where

Cincinnati was the insurer and Harrison Jones and/or Restoration Associates, Inc. prepared

estimates, performed the repair, or served as an appraiser. These requests are entirely too broad

and forcing Cincinnati to comply with such requests would be unduly burdensome.

Further, compliance with these requests would force Cincinnati to reveal the personal

information of countless third parties with no assurance that this information would be protected

or that such information is even necessary.

        IT IS THEREFORE ORDERED that Plaintiff’s Motion to Compel is hereby DENIED


                                                   Signed: March 8, 2007




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